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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:03CR384
                              )
          v.                  )
                              )
COURTNEY NELSON,              )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on plaintiff’s motion

to continue hearing on Rule 35 motion (Filing No. 53).

Accordingly,

          IT IS ORDERED that said motion is granted; hearing on

plaintiff’s Rule 35 motion (Filing No. 48) will be rescheduled

when plaintiff notifies the Court that defendant’s cooperation

has been completed.

          DATED this 21st day of June, 2005.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
